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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


PAYPAL, INC.,                                         )
                                                      )
                 Plaintiff,                           )
                                                      )
            v.                                        )     Civil Case No. 19-3700 (RJL)
                                                      )
CONSUMER FINANCIAL PROTECTION                         )
BUREAU,                                               )
                                                      )
AND                                                   )
                                                      )
KATHY KRANINGER, in her official capacity as          )
Director, Consumer Financial Protection Bureau,       )
                                                      )
                          Defendants.                 )


                               CASE MANAGEMENT ORDER
                                        December 30, 2019


This case has been assigned to the calendar of Judge Richard J. Leon. The plaintiff shall
immediately serve this Order on all parties, including any new parties to the action. If this
case came to the Court by a Petition for Removal, the removing defendant(s) shall serve
this order on all other parties.


Upon the Court's motion, it is hereby


ORDERED that within thirty days of all defendants answering the complaint or filing
other motions under Rule 12(b) of the Federal Rules of Civil Procedure, or within 30 days
of the issuance of this order if an answer or Rule 12(b) motion has already been filed, the
parties shall confer pursuant to Federal Rule of Civil Procedure 26(f) and Local Civil
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Rule 16.3. 1 No later than fourteen days following that meeting, counsel shall submit:
(1) their Joint Meet and Confer Statement addressing all topics listed in Local Civil Rule
16.3(c); and (2) a proposed scheduling order(s) in accordance with Rule 16.3(d).
Counsel are also directed to include in their Joint Meet and Confer Statement a one-page
statement of the facts of the case and the statutory basis for all causes of action and
defenses. Once the Joint Meet and Confer Statement has been filed, the Court will
schedule an initial status conference; and it is further


ORDERED that all counsel must familiarize themselves with the Federal Rules of Civil
Procedure, particularly Federal Rules of Civil Procedure 16 and 26, and the Local Rules
of the District of Columbia, Ato secure the just, speedy, and inexpensive determination of
[this] action,@ Fed. R. Civ. P. 1; 2 and it is further


ORDERED that parties comply with the following chambers practices and policies:


1.     Courtroom Proceedings: All courtroom proceedings, unless otherwise indicated,
       will be conducted in Courtroom 18 on the sixth floor of the E. Barrett Prettyman
       United States Courthouse, 333 Constitution Avenue, N.W., Washington, D.C.



       1
         The May 17, 2001 amendment to Local Civil Rule 16.3 sets forth additional
categories of proceedings that are exempted from this Rule=s meet and confer
requirements. If counsel's proceeding is exempt from the local rule's requirements,
counsel for both parties shall jointly prepare and submit a statement to the Court
indicating whether they believe the matter will be resolved solely through the filing of
dispositive motions and proposing a scheduling timeline for the filing of such motions to
the Court. Counsel shall also indicate whether or not they believe an appearance before
the Court will be necessary prior to resolution of the dispositive motions.
       2
           The Local Civil Rules are available at Ahttp:\\www.dcd.uscourts.gov@.

                                                 2
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     20001. Non-courtroom conferences and meetings will be held in Judge Leon's
     chambers unless otherwise specified.


2.   Communications with Chambers: Counsel shall not contact the Court or its
     chambers regarding non-emergency matters by telephone, facsimile, letter, or by
     any other means. Chambers may not provide legal advice or comment on the
     status of any pending motions. Counsel may contact the Courtroom Deputy Clerk
     regarding emergency scheduling matters.


3.   Proposed Orders: All motions, whether filed through the Electronic Filing
     System (ECF) or otherwise, must be accompanied by a proposed order setting
     forth the relief or action sought. Under no circumstances shall the signature line
     appear alone on a page of the proposed order.


4.   Rescheduling Court Proceedings: Requests for continuances of court
     proceedings are strongly discouraged because of the inconvenience they cause to
     the Court. If counsel seeks to change a previously scheduled hearing date,
     counsel is directed to submit a written motion at least four days prior to the
     proceeding. In the event of an emergency, the four-day rule will be waived but
     counsel must still file a written motion in support of their request. The written
     motion must:
     a.      demonstrate good cause for the continuance;
     b.      state the opposing party=s position on the continuance; and
     c.      propose at least three alternative dates and times that would be convenient
             for all parties in the case. If counsel=s suggested dates and times are not
             available on the Court=s calendar, an alternative of the Court=s choosing will
             be selected.
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5.    Court Appearances by Counsel: An attorney with authority to make scheduling
      decisions must appear on behalf of the parties at all court appearances. In
      addition, counsel must have their calendars and the calendars of any necessary
      co-counsel available with them for possible scheduling of future events related to
      the case. In the event that counsel is not a member of the Bar of this Court and is
      located outside the District, local counsel 3 must be available to appear with the
      necessary authority to make scheduling decisions on behalf of all parties and
      counsel in the case.


6.    Motions for Extensions of Time to File Pleadings: Motions for extension of
      time to file pleadings are strongly discouraged unless both parties consent.
      Counsel seeking an extension of time must file a written motion and a proposed
      order. Such a motion must include:
      a.      the number of previous extensions requested and granted to each party;
      b.      the specific ground(s) for the motion; a statement of the effect that the
              Court's granting of the motion will have on all other previously scheduled
              deadlines;




      3
       LCvR 83.2(c) requires that an attorney who is not a member of the Bar of this
Court must obtain local counsel that is a member in good standing of this Court.


                                             4
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      c.      in cases where the motion seeks to extend the deadline for a dispositive
              motion, a suggested timeline for the filing of the opposition 4 and reply; and
      d.      pursuant to Local Civil Rule 7(m), the moving party shall include a
              statement of opposing counsel=s position on the motion.
      Failure to comply with the Local Civil Rules or this Order may result in rejection
      of the request. The Court grants such motions only upon a showing of good
      cause, focusing on the diligence of the party seeking the continuance and any
      prejudice that may result if the Court denies the continuance. 5


7.    Pleadings: Every pleading signed by an attorney shall, in conformity with Local
      Civil Rule 5.1(e), contain the name, address, telephone number, fax number, and
      bar identification number of the attorney and, where applicable, local counsel.


8.    Settlement and Alternative Dispute Resolution: In order to reduce litigation
      expenses and delay, to eliminate the anxiety of trial and the risk of an
      unsatisfactory outcome, it is desirable that settlement occur as early as possible in
      the litigation process. The Court is available to assist the parties in pursuing
      settlement early in the process. However, the Court will not delay trial so that the
      parties may participate in settlement discussions on the eve of trial.


      It shall be the norm for all cases to be referred for some form of alternative dispute
      resolution (ADR). Pursuant to Rule 16.3, the parties' Joint Meet and Confer


      4
        The deadline for the opposition should be suggested only after consulting with
opposing counsel.
      5
        See Jackson v. Finnegan, Henderson, Farabow, Garrett & Dunner, 101 F.3d 145
(D.C. Cir. 1996).


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     Statement should address the potential benefit of ADR to their case, what steps
     should be taken to facilitate ADR, and the point during litigation at which ADR
     would be most appropriate. In considering what form of alternative dispute
     resolution the parties think the case is most suited, counsel are reminded that their
     options include mediation (either with a private firm or a Magistrate Judge),
     arbitration, early neutral evaluation, summary jury trial, or any other form of
     alternative dispute resolution that can be tailored to the needs of their case. If the
     parties believe that the case is not a candidate for alternative dispute resolution,
     they should provide the Court with an explanation of their position.


9.   Stipulations of Dismissal: Parties must submit a signed copy that includes a
     signature line for the Court. Under no circumstances shall the signature line
     appear alone on a page of the proposed order.


     SO ORDERED.



                                                                      //s//
                                                  RICHARD J. LEON
                                                  United States District Judge




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